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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

   Civil Action No.: 1:21-cv-02398

   CYNTHIA MULLEN

                  Plaintiff

   v.

   GENE CLAPS, in his official capacity as the Sheriff of the County of Adams,

                  Defendants.


           RESPONSE TO DEFENDANT’S MOTION FOR SUMMARY JUDGMENT


          Plaintiff, Cynthia Mullen, by and through her undersigned counsel, submits this Response

   to Defendant’s Motion for Summary Judgment and further states as follows:

                                             INTRODUCTION

          Defendant’s Motion for Summary Judgment (“MSJ”) ignores the Court’s prior Order on

   the Motion to Dismiss (“MTD”). Defendant’s arguments also ignore common sense and the

   factual record that was elicited through Defendant’s own employees. For the reasons set forth

   herein, this court should reject Defendant’s arguments in its MSJ and set this case for trial in an

   expedited manner.

                         RESPONSE TO THE STATEMENT OF MATERIAL FACTS

          1.      Admit.

          2.      Admit.

          3.      Admit.

          4.      Admit.

          5.      Admit.


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          6.      Admit.

          7.      Admit.

          8.      Admit.

          9.      Admit.

          10.     Admit.

          11.     Admit.

          12.     Admit.

          13.     Admit.

          14.     Admit.

          15.     Admit, however, Plaintiff denies that the approved list of interpreters were

   certified interpreters. See Ex. 1, 30(b)(6) Dep. at 70:4-15, 203:13-204:11, 209:3-5, 230:5-10.

   Moreover, the approved list of sign language interpreters could have included numerous other

   interpreting agencies. See Ex. 1, 30(b)(6) Dep. at 213:5-8, 217:6-15, 218:11-17, 221:5-222:4,

   224:14-225:15.

          16.     Admit.

          17.     Admit; however, Plaintiff notes that Deputy Runge was not working on August

   24, 2020, or on August 25, 2020. See Ex. 1, 30(b)(6) Dep. at 125:9-126:16, 200:13-19.

          18.     Admit.

          19.     Admit; however, disputed to the extent this fact insinuates that Ms. Mullen used

   the SVRS device for thirty (30) minutes or that Ms. Mullen was aware that deputies had the

   discretion to allow for more than one thirty (30) minute period of use per day. See Ex. F to MSJ

   at 1 [ECF 84-6]; see also Ex. 1, 30(b)(6) Dep. at 184:24-185:6; see also Ex. 2, Mullen Dep. at

   64:24-65:5.



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          20.      Admit.

          21.      Admit.

          22.      Admit.

          23.      Admit.

          24.      Admit; however, disputed to the extent this fact indicates Ms. Mullen can

   effectively communicate via lip reading. See Mullen v. S. Denver Rehab., LLC, No. 18-cv-

   01552-MEH, 2020 WL 2557501, *2 ¶ 1 (D. Colo. May 20, 2020); see also Ex. I to MSJ at 38:6-

   7 [ECF 84-9].

          25.      Admit.

          26.      Admit; however, disputed that to the extent this fact indicates that Ms. Mullen can

   effectively communicate through written English.

          27.      Admit; however, disputed that to the extent this fact indicates that Ms. Mullen can

   effectively communicate through written English.

          28.      Admit; however, disputed that to the extent this fact indicates that Ms. Mullen can

   effectively communicate through written English.

          29.      Disputed. Ms. Mullen did not testify that she can read and sign agreements

   without an interpreter. She testified that she could sign a simple boilerplate rental agreement

   without the aid of an interpreter. See Ex. H to MSJ, Mullen Dep. at 20:13-16 [ECF 84-8]. Ms.

   Mullen explained that, for more complex agreements, like purchasing a house, she had an

   interpreter present. See Ex. H to MSJ, Mullen Dep. at 19:10-20 [ECF 84-8].

          30.      Undisputed.

          31.      Undisputed.

          32.      Admit; however, disputed to the extent this fact indicates Ms. Mullen can



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   effectively communicate via reading written English. See Ex. 3, Kraefft Dep. at 109:16-21,

   114:11-115:2, 115:10-25; see also Ex. 4, Roger Williams Report at 5-7.

            33.   Admit; however, disputed to the extent this fact indicates Ms. Mullen can

   effectively communicate via reading written English. Id.

            34.   Admit; however, disputed to the extent this fact indicates Ms. Mullen can

   effectively communicate via reading written English. Id

            35.   Admit; however, disputed this is a material fact.

            36.   Admit.

            37.   Admit.

            38.   Admit; however, disputed that to the extent this fact indicates that Ms. Mullen can

   effectively communicate through written English.

            39.   Admit.

            40.   Admit.

            41.   Admit.

            42.   Admit.

            43.   Admit.

            44.   Disputed. Ms. Mullen testified that there was no signing in the video, that she

   could not understand the video, and there was no interpreter. See Ex. 2, Mullen Dep. at 57:18-

   58:11.

            45.   Admit that Deputy Stein utilized written notes to attempt to communicate with

   Ms. Mullen; however, disputed to the extent this fact insinuates Deputy Stein effectively

   communicated with Ms. Mullen using writing.

            46.   Admit.



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          47.     Admit.

          48.     Admit.

          49.     Admit.

          50.     Admit that Deputy Stein utilized written notes to attempt to communicate with

   Ms. Mullen; however, disputed to the extent this fact insinuates Deputy Stein effectively

   communicated with Ms. Mullen using writing.

          51.     Admit; however, disputed to the extent this fact insinuates Ms. Mullen fully

   understood what she was completing or why she was completing it.

          52.     Admit.

          53.     Admit.

          54.     Admit to the fact that Deputy Kraefft utilized written notes to attempt to

   communicate with Ms. Mullen; however, disputed to the extent this fact insinuates Mr. Stein

   effectively communicated with Ms. Mullen using writing. Further disputed to the extent this is

   the statement that the notes utilized by Deputy Kraefft were simply “not kept” as they were

   thrown away in direct violation to Defendant’s policy. See Ex. 3, Kraefft Dep. at 57:19-58:11;

   see also Ex. 1, 30(b)(6) Dep. at 131:11-132:8.

          55.     Deny. Ms. Mullen testified that she was not able to access or utilize a cot and had

   to wait two (2) hours to use the handicap restroom as she could not access the bathroom in the

   holding cell. See Ex. 2, Mullen Dep. at 61:25-62:8, 62:9-63:20.

          56.     Admit.

          57.     Admit; however, disputed to the extent that this is a material fact.

          58.     Admit; however, disputed to the extent this fact insinuates Ms. Mullen

   communicated effectively using written English.



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          59.     Admit; however, disputed to the extent that this is a material fact.

          60.     Admit; however, disputed to the extent that this is a material fact.

          61.     Admit; however, disputed to the extent that this is a material fact.

          62.     Admit; however, disputed to the extent that this is a material fact.

          63.     Admit; however, disputed to the extent that this is a material fact.

          64.     Admit.

          65.     Undisputed.

          66.     Admit.

          67.     Admit.

                                    ADDITIONAL MATERIAL FACTS

          68.     Deputy Kraefft admitted she was unable to effectively communicate with Ms.

   Mullen through writing notes. See Ex. 3, Kraefft Dep. at 109:16-21, 114:11-115:2, 115:10-25.

          69.     Deputy Krafft admitted that, because there was no ASL interpreter, she was

   unable to effectively communicate with Ms. Mullen. Id.

          70.     At the time of Ms. Mullen’s incarceration, Defendant was aware of multiple

   agencies and companies near Defendant’s detention facility that could provide ASL interpreting

   services 24 hours a day, 7 days a week. See Ex. 1, 30(b)(6) Dep. at 213:5-8, 217:6-15, 218:11-

   17, 221:5-222:4, 224:14-225:15.

          71.     In 2020, at the time of Ms. Mullen’s stay at Defendant’s facility, Defendant only

   had one individual, Deputy Runge, it could rely on to provide ASL interpreting services for deaf

   inmates after hours. See Ex. 1, 30 (b)(6) Dep. at 197:15-198:8.

          72.     Defendant admitted that Deputy Runge did not want to come in to provide ASL

   interpretation services to Ms. Mullen when she was at Defendant’s facility because he was off



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   that day. See Ex. 1, 30 (b)(6) Dep. at 200:15-19.

          73.     Defendant’s policies dictate, without exceptions, that if an ASL interpreter is

   requested, then one must be provided. See Ex. 1, 30(b)(6) Dep. at 61:22-62:4; see also Ex. D to

   MSJ [ECF 84-4].

          74.     Defendant is aware that Ms. Mullen requires an ASL interpreter to communicate.

   See Ex. 1, 30(b)(6) Dep. at 79:5-6.

          75.     Defendant admitted that if an ASL interpreter is requested one should be

   provided, per policy, for the booking process. See Ex. 1, 30(b)(6) Dep. at 124:18-22.

          76.     Defendant did not provide an ASL interpreter to Ms. Mullen at any point during

   her stay at Defendant’s detention facility. See Ex. 3, Kraefft Dep. at 52:15-21, 116:8-20; see also

   Ex. 1, 30(b)(6) Dep. at 77:10-13, 125:9-127:3; see also Ex. 2, Mullen Dep. at 57:23-25, 100:2-7;

   see also Ex. H to MSJ, Mullen Dep. at 104:22-25 [ECF 84-8].

          77.     Defendant admitted that it failed to provide Ms. Mullen with an ASL interpreter

   while at Defendant’s detention facility and this failure violated Defendant’s own policy. See Ex.

   1, 30(b)(6) Dep. at 77:10-13.

          78.     Defendant admitted that Deputy Runge, the only individual who could have

   provided ASL interpretation services for the Defendant after hours, and to Ms. Mullen, is not a

   qualified interpreter under Defendant’s policies. See Ex. 1, 30(b)(6) Dep. at 70:20-71:5.

                                              ARGUMENT

          Initially, the Court should exercise its judicial discretion and reject Defendant’s

   arguments that it previously raised in its MTD, and which were previously decided. See Entek

   GRB, LLC v. Stull ranches, LLC, 840 F.3d 1239, 1241 (barring a party from relitigating “issues

   either expressly or implicitly resolved in prior proceedings in the same court.”); see also Am.



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   Nat'l Prop. & Cas. Co. v. Sam, No. 16-CV-301-ABJ, 2019 WL 11527928, at *7 (D. Wyo. Sept.

   5, 2019) (holding “[t]he law of the case doctrine prohibits the re-litigation of issues either already

   decided by the trial court or a court of appeals) (citations omitted) (emphasis added); see also

   Martinez v. Roscoe, 100 F.3d 121, 123 (10th Cir. 1996) (holding that a district court’s previous

   preliminary injunction was binding when the preliminary injunction as challenged several years

   later); see also Obeslo v. Great-west Cap. Mgmt., LLC, No. 16-CV-00230-CMA-MJW, 2018

   WL 10932793, at *1 (D. Colo. Jan. 30, 2018).

          In its MSJ, Defendant argues that the standards under Title VI apply and that there is no

   vicarious liability under the Rehabilitation Act. See MSJ at 10-11 (Title VI), 16-19 (vicarious

   liability). However, in its Order on the MTD the Court explicitly rejected Defendant’s argument

   that Title VI applies:

          [I]t is nonsensical to conclude that § 794a(a)(2)’s reference to title VI’s remedies and
          procedures precludes failure-to-accommodate claims under the Rehabilitation Act when
          Title II of the ADA-which permits failure-to-accommodate claims-also incorporates §
          794a(a)(2) of the Rehabilitation Act.

   Order MTD at 6 [ECF 58]. Ignoring the foregoing, Defendant relies on four (4) cases that were

   not referenced by Defendant, Plaintiff, and/or the Court at the MTD stage with respect to the

   foregoing. Defendant first cites Flynn v. Distinctive Home Care, Inc., 812 F.3d 422, 428 (5th Cir.

   2016) to support its arguments that the rehab act does not completely incorporate the terms of the

   ADA. See MSJ at n. 3. However, the Fifth Circuits analysis is inapplicable to Ms. Mullen’s

   claims as her claims do not relate to employment matters or Title I of the ADA like in Flynn.

   Next, Defendant relies on K.M. v. Tustin Unified Sch. Dist., 725 F.3d 1088, 1099 (9th Cir. 2013).

   Defendant’s reliance on K.M. is also misguided as the Ninth Circuit distinguished the Rehab Act

   from ADA Title II as it related to the IDEA and fair and appropriate public education (FAPE).

   K.M., 725 F.3d 1088. Specifically, the Ninth Circuit distinguished the Rehab Act and Title II of


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   the ADA because the Rehab Act had separate regulations for FAPE which were codified under a

   different statute. Id at 1099. The Ninth Circuit’s ruling that the Rehab Act and Title II of the

   ADA, and its implementing regulations, is inapplicable to Ms. Mullen’s claims as she did not

   bring any claims under the FAPE regulations of the Rehab Act.

          Defendant also cites Reyazuddin v. Montgomery Cnty., 789 F.3d 407, 421 (4th Cir. 2015)

   and argues that “non-employment cases, such as this one, the Rehabilitation Act states that Title

   VI provides the governing legal standards…” see MSJ at 11. Defendant misapplies the court’s

   reasoning as the Fourth Circuit as the Fourth Circuit reasoned that “Title II unambiguously does

   not provide a vehicle for public employment discrimination claims.” See Reyazuddin 789 F.3d at

   421. Finally, Defendant cites Hamer v. City of Trinidad, 441 F. Supp. 3d 1155, 1171-72 (D.

   Colo. 2020) for the proposition that the court declined to consider DOJ regulations when

   evaluating a Rehab Act claim. See MSJ at 13. This is simply not the case in Hamer as the

   District Court of Colorado reviewed the DOJ regulations under Title II and the ADA analogously

   and ultimately decided that the court need not look to the regulations because the “statutory text,

   as well as its structure, legislative history, and broader statutory context…” made the court’s

   review clear. See Hamer, Supp. 441 F. 3d at 1171-72.

          Regarding vicarious liability, the Court rejected Defendant’s interpretation of Gebser,

   and concluded that a party can be held vicariously liable under the Rehabilitation Act:

          [I]t makes little sense to conclude that a plaintiff cannot pursue a Rehabilitation Act claim
          premise don an entity’s vicarious liability when the Act permits failure-to-accommodate
          claims.

   Order MTD at 10 [ECF 58]. Again, ignoring the Court’s prior Order, Defendant copies and

   pastes its previous arguments at the MTD stage and identifies two cases that were not referenced

   by Defendant, Plaintiff, and/or the Court at the MTD stage with respect to the foregoing. First,



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  Defendant cites to Gradeless v. Kan. State Univ., 2023 U.S. Dist. LEXIS 44703, *12-14 (D. Kan.

  Mar. 16, 2023) for the proposition that one district court’s opinion aligns with Defendant’s

  arguments set forth in the MSJ as well as their original MTD. See MSJ at 19. The unreported

  district court opinion from the District of Kansas at the motion to dismiss stage is not binding on

  this Court. Moreover, this Court has already underwent its own analysis of nearly identical

  arguments as the court did in Gradeless and held that Defendant can be held vicariously liable

  for its actions towards Ms. Mullen. See Order on MTD at 8-11 [ECF 58]. Ultimately, this Court

  was correct in reasoning that “[t]he availability of Rehabilitation Act claims based on a vicarious

  liability theory is wholly consistent with courts’ construction of the Act and the ADA.” See

  Order on MTD at 10 [ECF 58]. Defendant has not cited any new facts that should change this

  Court’s prior decision to comport with the court’s findings in Gradeless.

          Defendant then relies on Ross v. Univ. of Tulsa, 859 F.3d 1280, 1290 (10th Cir. 2017) to

  further support its arguments that vicarious liability is inconsistent with a deliberate indifference

  or intentional discrimination standard. See MSJ at 19. The Tenth Circuit in Ross was confronted

  with the concept of holding a public university liable for the actions of non-decision makers or

  “appropriate persons” under Title IX. See Ross, 859 F. 3d 1280. That is not the issue in front of

  this Court as Ms. Mullen has brought her claims under the Rehab Act and it is undisputed that

  the deputies at the detention facility can request interpreters for a Deaf inmate. See SUMF ¶ 47;

  see also Ex. D to MSJ [ECF 84-4]. The instant matter is distinguishable from Ross as there is no

  dispute that the alleged wrongdoers here had the ability to not discriminate against Ms. Mullen

  and provide her with an ASL interpreter. Id.

     I.      MULLEN WAS SUBJECT TO DISCRIMINATION UNDER THE REHABILITATION ACT.

          With respect to the liability under the Rehabilitation Act, Defendant would have this



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  Court undo decades of legislation related to the provisions of accommodations for deaf

  individuals and hold that effective communication is not necessary to provide meaningful access

  during incarceration. See MSJ at 10-13; but see Chaffin v. Kansas State Fair Bd., 348 F.3d 850,

  857 (10th Cir. 2003) (“holding that although a deaf inmate could physically attend prison

  activities, he did not have meaningful access without a sign language interpreter).

         Defendant’s argument that the DOJ regulations have no application to this case directly

  contradicts established case law including the same cases law relied upon by Defendant in its

  MSJ. See MSJ at 10-13; but see Barber ex rel. Barber v. Colorado Dep't of Revenue, 562 F.3d

  1222 at Fn. 2 (10th Cir. 2009); see also Cropp v. Larimer Cnty., Colorado, 793 F. App'x 771,

  776-78 (10th Cir. 2019) (applying the DOJ’s regulations related to auxiliary aids and services to

  a Rehabilitation Act Claim). Appellate Courts throughout the country have routinely applied the

  Title II standards to Rehabilitation Act claims. See also Basta v. Novant Health Inc., 56 F.4th

  307, 316 (4th Cir. 2022) (“This court interprets the ADA and the RA in lockstep…”); Luke v.

  Texas, 46 F.4th 301, Fn. 3 (5th Cir. 2022) (“[t]he ADA and Rehabilitation Act are interpreted in

  pari materia.”); Lange v. City of Oconto, 28 F.4th 825, 837-38 (7th Cir. 2022) (“[f]or the

  purpose of this appeal, [the ADA and the RA] are functionally identical.”). 1 Finally, Defendant’s

  reliance on Hamer is misplaced because the court simply noted it did not need to consider the

  DOJ regulations because the statutory text along with the legislative history was obvious. See

  Hamer v. City of Trinidad, 441 F.Supp.3d 1155, 1171-72 (D. Colo. 2020).

         The ADA’s regulations “elucidate the requirements governing auxiliary aids.” Basta, 56


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    To the extent Title II of the ADA and the Rehabilitation Act are treated differently it is merely
  because, under Title II, a public entity is required to give primary consideration to the request when
  determining the auxiliary aids, whereas a recipient of federal financial assistance is only required
  to provide effective communication. See 28 C.F.R § 35.160(b)(2); see also Bax v. Drs. Med. Ctr.
  of Modesto, Inc., 52 F.4th 858, 868-69 (9th Cir. 2022).


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  F.4th at 316. Thus, to provide effective communication an entity “shall take appropriate steps to

  ensure that communications with [deaf individuals] are as effective as communications with

  others.” 28 C.F.R. § 35.160(a)(1) (emphasis added). Moreover, the entity “shall furnish

  appropriate auxiliary aids and services where necessary to afford individuals with disabilities []

  an equal opportunity to participate in and enjoy the benefits of a [program].” 28 C.F.R. §

  35.160(b)(1) (emphasis added); see also 28 C.F.R. § 36.303 (Auxiliary aids and services). In

  sum, there is no rational dispute that Defendant is obligated to provide Plaintiff with “equal

  opportunity to participate in obtaining and utilizing” the services provided by Defendant, which

  includes communicating effectively about the same. Silva v. Baptist Health S. Fla., Inc., 856

  F.3d 824, 834 (11th Cir. 2017).

                 i.      Plaintiff was Denied the Equal Opportunity to Participate as an Inmate

         First, the task of determining whether an entity subject to the Rehabilitation Act has

  provided appropriate auxiliary aids is “inherently fact-intensive” and “[i]t is precisely because of

  this fact-intensive inquiry that an effective-communication claim often presents questions of fact

  precluding summary judgment.” See Makeen v. Colorado, Denver City & Cnty., No. 14-CV-

  03452-CMA-CBS, 2015 WL 13215660, at *11 (D. Colo. Dec. 18, 2015), report and

  recommendation adopted sub nom. Makeen v. State of Colorado, Denver City & Cnty., No. 14-

  CV-03452-CMA-CBS, 2016 WL 47923 (D. Colo. Jan. 5, 2016) (holding that whether the

  Defendants provided appropriate auxiliary aids is a fact-specific inquiry that must address the

  totality of the circumstances); see also Mullen v. S. Denver Rehab., LLC, No. 18-CV-01552-

  MEH, 2020 WL 2557501, at *27 (D. Colo. May 20, 2020) (quoting Biondo v. Kaledia Health,

  935 F.3d 68, 74 (2d Cir. 2019), cert. denied sub nom. Kaleida Health v. Biondo, 140 S. Ct. 956,

  206 L. Ed. 2d 120 (2020).



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          Second, there is clearly evidence that would empower the finder of fact to conclude that

  Ms. Mullen cannot effectively communicate through written or spoken English, which prevented

  her from effective communications with Defendant. There is no dispute that Defendant did not

  provide an ASL interpreter, whether remotely or in person, for the duration of Ms. Mullen’s

  incarceration which included the booking process, medical visits, and her release. See ASUMF

  ¶ 12. Roger Williams and Ms. Mullen will present testimony that Ms. Mullen cannot effectively

  communicate in written or spoken English. See Ex. 4, Roger Williams Report at 5-7; see also Ex.

  H to MSJ, Mullen Dep. at 13:20-21 [ECF 84-8]. Moreover, Defendant’s own employee

  acknowledged that there was not effective communication between Defendant and Ms. Mullen.

  See Ex. 3, Kraefft Dep. at 109:16-21, 114:11-115:2, 115:10-25. Thus, relying on Ms. Mullen’s

  testimony, Mr. Williams testimony, and Defendant’s own witnesses’ testimony, a reasonable

  juror could find that Ms. Mullen was denied the “equal opportunity to participate” in

  Defendant’s services and summary judgment is not appropriate.

                  ii.     Defendant was Deliberately Indifferent Toward Ms. Mullen

          With respect to Ms. Mullen’s claim for nominal damages, she need not establish that

  Defendant’s actions were intentional. See Griffith v. State of Colo., Div. of Youth Servs., 17 F.3d

  1323, 1327 (10th Cir. 1994). However, to recover compensatory damages, Plaintiff must

  demonstrate that the Defendant acted with deliberate indifference. Barber ex rel. Barber v. Colo.

  Dep't of Revenue, (10th Cir. 2009). “[D]eliberate-indifference standard ‘does not require a

  showing of personal ill will or animosity toward the disabled person’[;]...[t]he plaintiff must

  show, however, ‘(1) [that the defendant had] knowledge that a harm to a federally protected right

  [was] substantially likely, and (2) a failure to act upon that...likelihood.’ ” Id at 1227.

          Ms. Mullen can demonstrate that Defendant had knowledge that “a harm to a federally



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  protected right was substantially likely” for several reasons. Barber ex rel. Barber, 562 F.3d at

  1227. First, Defendant, who has previously been sued for not providing ASL interpreters, has

  implemented clear and unambiguous policies and procedures as it applies to deaf inmates. See

  Siaki v. Darr, No. 11-cv-03074-JLK, 2012 U.S. Dist. LEXIS 139274 *2 (D. Colo. Sept. 27,

  2012); see also Ex. C to MSJ [ECF 84-3]; Ex. G to MSJ [ECF 84-7]; see also Ex. D to MSJ

  [ECF 84-4]; see also Ex. O to MSJ [ECF 84-14]; see also MSJ SUMF ¶¶ 9-11. Defendant’s

  policy is as follows: If an inmate requests an ASL interpreter, Defendant will provide one. See

  Ex. D to MSJ [ECF 84-4]. Defendant’s policies do not contain any exceptions as they relate to a

  deaf inmates’ request for an ASL interpreter. Id. Second, as applied in this case, Ms. Mullen

  requested an ASL interpreter by circling “Yes” on Defendant’s ASL interpreter request form. See

  Ex. O to MSJ [ECF 84-14]. Thus, there is ample evidence for a fact finder to conclude that

  Defendant knew Ms. Mullen required an ASL interpreter to effectively communicate and failing

  to provide the same would harm Ms. Mullen’s federally protected rights. See Havens, 897 F.3d

  at 1264.

         Next, Ms. Mullen can show that there is a question of fact that Defendant failed to act by

  providing an ASL interpreter even though it knew that Ms. Mullen required the same for

  effective communication. Defendant’s argument that the deputy’s inaction 2 is due merely due to

  bureaucratic slippage or negligence is dubious because its own staff attempted to provide an in-

  house interpreter. See MSJ at 15 [ECF 84]; see also 30(B)(6) Dep. at 125:11-14, 170:5-8; see

  also Kraefft Dep. at 29:15-18, 134:22-135:6; see also Ex. M to MSJ, Kraefft Dep. at 42:21-22

  [ECF 84-13]. In other words, the actions by the deputies were not simply an oversight but


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    Defendant argues that the Sheriff is not liable in his official capacity because the Sheriff, himself,
  was not aware of the request for ASL interpreters. The Court already dismissed this argument at
  the MTD stage, and the court should reject the same in the MSJ. See MSJ at 14-15; see also Order
  MTD at 8-11 [ECF 58].
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  intentional. The very act of contacting an interpreter demonstrates that Defendant knew that it

  needed to provide an interpreter. See Ex. 1, 30(b)(6) Dep. at 125:9-14, 170:5-14, 197:15-21,

  200:5-23. Importantly, Defendant also admitted that it knew that there were resources available

  to Defendant, outside of the in-house interpreter, that would have allowed Defendant to provide

  an interpreter at the time of Ms. Mullen’s incarceration. See Ex. 1, 30(b)(6) Dep. at 213:5-8,

  217:6-15, 218:11-17, 221:5-222:4, 224:14-225:15. When Defendant’s 30(B)(6) deponent was

  asked about Adams County Sheriff’s Office knowledge of external 24/7 interpreting agencies, he

  stated, “I’m sure that Adams County Sheriff’s Office had an awareness that such services

  existed.” Id. Defendant simply elected not to utilize the same, and instead elected to move

  forward with Ms. Mullen’s incarceration without an ASL interpreter. See SUMF/RSUMF ¶¶ 47-

  50, 54; see also ASMUF ¶ 15. The foregoing clearly demonstrates that there is a question of fact

  as to whether Defendant acted with deliberate indifference towards Ms. Mullen’s federally

  protected rights. See Barber ex rel. Barber, 562 F.3d at 1227.

         This case also demonstrates Defendant’s policy decision to not provide ASL interpreters

  even after being subject to a lawsuit for the same. See Siaki v. Darr, No. 11-cv-03074-JLK, 2012

  U.S. Dist. LEXIS 139274 *2 (D. Colo. Sept. 27, 2012); see also Ex. C to MSJ [ECF 84-3]. At the

  time of Ms. Mullen’s incarceration, Defendant only allocated resources for one individual to

  provide ASL interpreting services to deaf inmates after the hours of 8:00 am and prior to 5:00

  pm. See Ex. 1, 30(B)(6) Dep. at 126:22-127:3, 198:9-21. Thus, especially considering its prior

  litigation, Defendant knew that, if a deaf inmate arrived prior to 8:00 am or after 5:00 pm and the

  interpreter was out, it would need to utilize other interpreting options, or alternatively, violate a

  deaf inmate’s federally protected rights. Id; see also Siaki No. 11-cv-03074-JLK, 2012 U.S. Dist.

  LEXIS 139274 *2. When confronted with a deaf inmate arriving after hours (i.e., Ms. Mullen),



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  Defendant, despite knowledge that Defendant could call an interpreting agency, simply elected

  not to. See Ex. 1, 30(b)(6) Dep. at 213:5-8, 217:6-15, 218:11-17, 221:5-222:4, 224:14-225:15;

  see also SUMF/RSUMF ¶¶ 47-50, 54; see also ASMUF ¶ 15. The foregoing illustrates the

  deliberate indifference standard on an institutional level: Defendant knew it could accommodate

  Ms. Mullen, had the resources to accommodate her, but refused to put in place a policy that

  would ensure effective communication for deaf inmates before 8:00 am and 5:00 pm. See Barber

  ex rel. Barber, 562 F.3d at 1227.

     II.      MULLEN CAN RECOVER NON-EMOTIONAL DISTRESS COMPENSATORY DAMAGES.

           First, Defendant misstates the nature of the relief sought by Ms. Mullen, and in turn, fails

  to properly analyze Ms. Mullen’s ability to recover damages in this litigation. In addition to

  requesting emotional distress damages and injunctive relief, Ms. Mullen specifically identifies

  following categories of damages, which are not precluded by Cummings: physical pain and

  suffering, inconvenience, physical injury, and her reasonable attorney’s fees and costs. See Am.

  Compl. at ¶¶ 188, 190, 198, 200, 208, 210 [ECF 16]; see also Williams v. Colorado Dep't of

  Corr., No. 21-CV-02595-NYW-NRN, 2023 WL 3585210, at *7 (D. Colo. May 22, 2023)

  (permitting physical pain and suffering damages under the Rehabilitation Act). Recently, courts

  have held that a plaintiff may recover compensatory damages under the loss of opportunity

  theory even when the same is not spelled out in the complaint. Chaitram v. Penn Med.-Princeton

  Med. Ctr., No. CV2117583MASTJB, 2022 WL 16821692, at *2 (D.N.J. Nov. 8, 2022)

  (citing Montgomery v. D.C, No. 18-1928, 2022 WL 1618741, at *25 (D.D.C. May 23, 2022)

  (“while [plaintiff] cannot recover either emotional distress or reputation damages in light of

  Cummings, [s]he may be able to recover some small amount of damages to compensate [her] for

  the opportunity [she] lost when [she] was denied the ability to meaningfully access and



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  participate in her own [interrogation].”). 3

          In this case, Plaintiff will be able to establish that as a direct and proximate result of

  Defendant’s discrimination toward Ms. Mullen, she suffered physical pain and suffering,

  inconvenience, and physical injury. The physical pain that Ms. Mullen endured included, but is

  not limited to, sitting in a painful position for her prosthetic leg for a prolonged period of time in

  the arresting police officer’s vehicle; the denial of her prescribed pain medications, oxycodone

  and Robaxin, and curated, high insulin dosages; holding the restroom for on or about two (2)

  hour at Defendant’s facility; and sleeping in an unsteady and rickety wheelchair overnight given

  the inaccessibility of the cot in her cell. See Ex. 2, Mullen Dep. at 38:23-39:1, 48:20-22, 53:11-

  17, 31:7-20, 33:1-10, 48:3-4, 62:9-19, 63:15-18, 66:4-5, 56:12-16, 62:7-8, 83:21-25; see also Ex.

  H to MSJ, Mullen Dep. at 71:23-25, 69:15-24, 70:5-7 [ECF 84-8]. Ms. Mullen attempted to

  communicate to a nurse at Defendant’s facility that she “was in a lot of pain, just a horrible

  pain,” but without the aid of an ASL interpreter, she was unable to communicate her pain to

  anyone at the detention facility. See Ex. 2, Mullen Dep. at 68:19-21. In her deposition, Ms.

  Mullen explained that, without her prescribed medications while at Defendant’s facility, she was

  “in a lot of pain” and “being very expressive,” because “the pain was out of control.” See Ex. H

  to MSJ, Mullen Dep. at 71:21-25 [ECF 84-8].

          Moreover, Ms. Mullen will be able to demonstrate that she was denied the opportunity to

  meaningfully participate in Defendant’s booking process and ensuing medical treatment.

  Defendant testified that the booking process can be a lengthy and complex transaction that, per



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    It is Plaintiff’s position that her claim for compensatory damages encompasses a claim for
  nominal damages. See Griffith v. State of Colo., Div. of Youth Servs., 17 F.3d 1323, 1327 (10th
  Cir. 1994). Nevertheless, in an abundance of caution and based on the recent developments in the
  case law applying Cummings, Plaintiff will be seeking leave to amend the Amended Complaint in
  conjunction with the summary judgment pleadings.
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  policy, if an ASL interpreter is requested one must be provided. See ASUMF ¶ 76. Defendant’s

  deputy testified that the “booking process” for an arrestee consists of a pat down, a full body

  scan, taking a mug shot, signing property and medical authorization paperwork, fingerprinting,

  participating in an orientation session or by watching a video, changing into jail clothing, being

  given a phone call, and receiving medical treatment from a nurse. See Ex. 3, Kraefft Dep. at

  13:7-14:15, 143:16-19; see also Ex. M to MSJ, Kraefft Dep. at 92:17-22 [ECF 84-13]. While at

  Defendant’s facility, Ms. Mullen underwent this extensive process without an ASL interpreter,

  thus she could not effectively or meaningfully participate. Defendant’s deputy admits the

  booking process was frustrating and difficult as she was unable to effectively communicate with

  Ms. Mullen. See Ex. 3, Kraefft Dep. at 115:10-17. For example, Deputy Kraefft states that with

  inmates she explains the booking process as it is conducted to calm arrestees down, and

  specifically, while conducting a pat down, Deputy Kraefft will explain why an individual’s bra

  or waistband is being checked, to put the individual at ease. See Ex. M to MSJ, Kraefft Dep. at

  39:1-9, 40:9-13 [ECF 84-8]. However, without the presence of an ASL interpreter, Deputy

  Kraefft was unable to do the same or meaningfully explain the booking process to Ms. Mullen.

  Defendant also admits that that it is important for individuals to understand the booking process.

  See Ex. 1, 30(B)(6) Dep. at 83:20-84:1. While Defendant argues that Ms. Mullen was processed,

  provided a cell, and arranged to appear at the earliest available court hearing with an ASL

  interpreter present, there is more to meaningful access and communication then merely

  processing and housing Ms. Mullen at Defendant’s detention facility. See MSJ at 15 [ECF 84].

         Second, Defendant argues that nominal damages are unavailable under Cummings while

  relying on an indecisive opinion from the Seventh Circuit in Hacker. See MSJ at 21 [ECF 84].

  However, in Hacker the Seventh Circuit chose not to address the issue of nominal damages



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  under the Rehabilitation Act, and the developing consensus is that nominal damages are

  available under the Rehabilitation Act. See Nieves v. The Plaza Rehabilitation & Nursing Center

  & Citadel Care Centers, No. 120CV01191JLROTW, 2023 WL 4763945, at *10 (S.D.N.Y. July

  26, 2023); Klaneski v. Bristol Hosp., Inc., No. 3:22-CV-1158 (VAB), 2023 WL 4304925, at *4

  (D. Conn. June 30, 2023); Vega-Ruiz v. Northwell Health Sys., No. 19-CV-537(GRB)(AYS),

  2023 WL 2587508, at *3 (E.D.N.Y. Mar. 20, 2023); A.T. v. Oley Valley Sch. Dist., No. CV 17-

  4983, 2023 WL 1453143, at *4 (E.D. Pa. Feb. 1, 2023); Doe v. Fairfax Cnty. Sch. Bd., No.

  118CV00614MSNIDD, 2023 WL 424265, at *5 FN. 2 (E.D. Va. Jan. 25, 2023).

     III.    MS. MULLEN’S CLAIMS FOR INJUNCTIVE RELIEF ARE NOT MOOT

     The circumstances of this case demonstrate that injunctive relief is warranted in this case

  because Defendant has discriminated against Deaf inmates in the past, changed their policies,

  and still discriminated against a Deaf inmate, despite their updated policies. Standing for

  injunctive relief is not limited to only a showing of a continuing injury or real and immediate

  threat of being injured in the future. See Majocha v. Turner, 166 F. Supp. 2d 316, 325 (W.D. Pa.

  2001); see also Gillespie v. Dimensions Health Corp., 369 F. Supp. 2d 636, 645 (D. Md. 2005).

  A plaintiff can show standing for injunctive relief when a plaintiff shows a refusal to change a

  policy or practice. Id. Defendant’s position that Ms. Mullen did not need an ASL interpreter,

  despite its own updated policies, demonstrates Defendant’s refusal to change their practice as it

  relates to deaf and hard of hearing individuals. Plaintiff’s claims for injunctive relief are not

  mooted as Plaintiff can still seek additional relief such as requesting Court supervision of

  Defendant’s policies and actions towards Deaf and hard of hearing inmates like in Siaki v. Darr,

  No. 11-cv-03074-JLK, 2012 U.S. Dist. LEXIS 139274 *2 (D. Colo. Sept. 27, 2012). See Ex. C to

  MSJ [ECF 84-3].



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     IV.      THE REHABILITATION ACT PRECLUDES ELEVENTH AMENDMENT IMMUNITY.

           Defendant’s argument regarding immunity as an instrument of the State is baseless. None

  of the twenty (20) cases cited by Defendant address immunity in the context of the Rehabilitation

  Act, which was enacted pursuant to Congress’s Spending Clause power, and which states:

           A State shall not be immune under the Eleventh Amendment of the Constitution of the
           United States from suit in Federal court for a violation of section 504 of the Rehabilitation
           Act of 1973, title IX of the Education Amendments of 1972, the Age Discrimination Act
           of 1975, title VI of the Civil Rights Act of 1964, or the provisions of any other Federal
           statute prohibiting discrimination by recipients of Federal financial assistance.

  42 U.S.C. 7 2999d-7(a)(1) (emphasis added); see also Levy v. Kansas Dept. of Social and

  Rehabilitation Services, 789 F.3d 1164, 1169 (10th Cir. 2015). The plain language of 42 U.S.C. 7

  2999d-7(a)(1), and the Tenth Circuits holding in Levy are dispositive of the issue of Eleventh

  Amendment.

           WHEREFORE, Plaintiff respectfully requests that this Court reject Defendants Motion

  for Summary Judgment in its entirety.

           Respectfully submitted this 4th day of August 2023.

                                                         Respectfully submitted,

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